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   6
   7                       UNITED STATES DISTRICT COURT

   8                       CENTRAL DISTRICT OF CALIFORNIA

   9
 10 CALVIN KWON,                                     Case No.: 8:20-cv-01025-DOC-JDEx

 11                                                  NOTICE OF SETTLEMENT OF
                    Plaintiff,                       ENTIRE CASE
 12          vs.
 13
 14 DANY ASKAR D/B/A FIRST STOP
    LIQUOR; LUIS ROGELIO DIAZ;
 15 BRILLIANT PROPERTY
 16 INVESTMENT GROUP, LLC; and
    DOES 1 to 10,
 17
 18            Defendants.

 19
             Notice is hereby given that Plaintiff Calvin Kwon ("Plaintiff") and remaining
 20
       defendant have settled the above-captioned matter as to the entire case. Parties
 21
       requests that the Court grant thirty (30) days from the date of this filing for Plaintiff
 22
       to file dispositional documents in order to afford Parties time to complete settlement.
 23
 24     DATED: September 10, 2020                    SO. CAL EQUAL ACCESS GROUP
 25
 26
                                                           /s/ Jason J. Kim
 27                                                  JASON J. KIM
                                                     Attorney for Plaintiff
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                                                            NOTICE OF SETTLEMENT OF ENTIRE CASE
